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                                No. 23-10362

          IN THE UNITED STATES COURT OF APPEALS
                  FOR THE FIFTH CIRCUIT

  ALLIANCE FOR HIPPOCRATIC MEDICINE; AMERICAN ASSOCIATION OF
 PRO-LIFE OBSTETRICIANS & GYNECOLOGISTS; AMERICAN COLLEGE OF
PEDIATRICIANS; CHRISTIAN MEDICAL & DENTAL ASSOCIATIONS; SHAUN
    JESTER, D.O.; REGINA FROST-CLARK, M.D.; TYLER JOHNSON, D.O.;
                       GEORGE DELGADO, M.D.,
                                       Plaintiffs-Appellees,
                                 v.
U.S. FOOD AND DRUG ADMINISTRATION; ROBERT M. CALIFF, Commissioner
of Food and Drugs; JANET WOODCOOK, M.D., in her official capacity as Principal
      Deputy Commissioner, U.S. Food and Drug Administration; PATRIZIA
CAVAZZONI, M.D., in her official capacity as Director, Center for Drug Evaluation
       and Research, U.S. Food and Drug Administration; UNITED STATES
   DEPARTMENT OF HEALTH AND HUMAN SERVICES; XAVIER BECERRA,
           Secretary, U.S. Department of Health and Human Services,
                                               Defendants-Appellants,

                        DANCO LABORATORIES, L.L.C.,
                                        Intervenor-Appellant.

         DEFENDANTS-APPELLANTS’ OPPOSITION TO
        PLAINTIFFS-APPELLEES’ MOTION TO DISMISS

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                 INTRODUCTION AND SUMMARY

     Plaintiffs’ motion to dismiss should be denied. The district court’s

order staying the effectiveness of FDA’s mifepristone approvals under 5

U.S.C. § 705 has the practical effect of an injunction and is thus

appealable under 28 U.S.C. § 1292(a)(1). Section 705 orders have long

been recognized as the equivalent of preliminary injunctions. Plaintiffs

do not cite any decision, from any court, holding that such an order is

not appealable. And it would be astonishing if a district court could

enter a nationwide order upending a decades-old regulatory regime, yet

insulate its decision from immediate appellate review merely by

invoking § 705. In any event, even if this Court did not have

jurisdiction under § 1292(a)(1), the district court’s order could and

should be reviewed through the Court’s mandamus jurisdiction.

               This Court Has Appellate Jurisdiction

     1. Plaintiffs filed suit in district court to challenge several agency

actions related to mifepristone, including the name-brand drug’s

approval in 2000, modifications to the mifepristone REMS in 2016, the

generic drug’s approval in 2019, and certain actions related to in-person

dispensing. Plaintiffs filed a motion for a preliminary injunction,


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arguing that FDA’s actions violated the Administrative Procedure Act

and that the district court should order FDA to withdraw or suspend its

approval of the drug. Add.66.

     The district court “grant[ed]” plaintiffs’ motion “in part.” Add.67.

The court applied the traditional “standards” that apply to a motion for

a preliminary injunction. Add.6. It agreed with plaintiffs that they had

satisfied the requirements for preliminary injunctive relief, including a

“substantial likelihood of prevailing on the merits.” Add.65. The court

thus found that “injunctive relief is generally appropriate.” Add.66.

But rather than formally granting an injunction, the court chose what it

characterized as “less drastic” relief by issuing a stay under 5 U.S.C.

§ 705 to suspend the effective date of the challenged agency actions.

Add.65. The court asserted that its order “temporarily suspend[s]” the

challenged agency actions, including FDA’s initial approval of

mifepristone in 2000. Add.66 (quoting Nken v. Holder, 556 U.S. 418,

428-29 (2009)).

     The district court also specified that, if this Court were to hold

that it could not rely on § 705 to “postpone” the effective date of agency

actions that have long been in effect, the court “alternatively would


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have ordered Defendants to suspend the chemical abortion approval

and all subsequent challenged actions related to that approval.”

Add.67. As the district court appeared to recognize, the alternative

preliminary injunctive relief it described would have had precisely the

same consequence as the court’s actual order—that is, the suspension of

the challenged agency actions.

     2. Because the district court’s order has the practical effect of a

preliminary injunction, it is immediately appealable under 28 U.S.C.

§ 1292(a)(1). See Wyoming v. U.S. Dep’t of Interior, 2018 WL 2727031,

at *1 (10th Cir. June 4, 2018) (holding that a § 705 stay is immediately

appealable under § 1292(a)(1)); see also, e.g., Colorado v. EPA, 989 F.3d

874, 879, 883 (10th Cir. 2021) (reviewing a § 705 stay “under 28 U.S.C.

§ 1292”).

     Section 1292(a)(1) provides for appellate jurisdiction over certain

interlocutory orders, including orders “granting … injunctions.” Id.

The Supreme Court has “made clear” that “where an order has the

‘practical effect’ of granting or denying an injunction, it should be

treated as such for purposes of appellate jurisdiction” under both

§ 1292(a)(1) and the parallel language in 28 U.S.C. § 1253. Abbott v.


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Perez, 138 S. Ct. 2305, 2319 (2018) (citation omitted). As particularly

relevant here, the Supreme Court has long allowed interlocutory

appeals “from orders … not cast in injunctive language but which by

their terms simply ‘set aside’ or declined to ‘set aside’ orders of the

[agency].” Aberdeen & Rockfish R.R. Co. v. Students Challenging

Regulatory Agency Procedures (SCRAP), 422 U.S. 289, 307, 308 n.11

(1975) (collecting cases). By evaluating the “practical effect” of the

district court’s order rather than its label, appellate courts prevent

“manipulation” that could occur “if the availability of interlocutory

review depended on the district court’s use of the term ‘injunction.’”

Abbott, 138 S. Ct. at 2319-20.

     Here, the district court’s order “postpon[ing] the effective date of

the challenged actions,” Add.66, had—and was intended to have—the

same “practical effect” as an order expressly styled as a mandatory

injunction directing FDA to suspend those actions, Abbott, 138 S. Ct.

2319-20. Indeed, the court’s order closely resembles the type of orders

the Supreme Court described as paradigmatically appealable in

SCRAP, which were likewise equivalent to injunctions directing

agencies to withdraw the challenged actions. See 422 U.S. at 308 n.11.


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     The district court described its order as “reinstat[ing]” the status

quo by “temporarily suspend[ing]” the challenged actions. Add.66

(quoting Nken, 556 U.S. at 428-29). In other words, under the court’s

order, FDA’s more than two-decades-old approval of mifepristone would

no longer be in effect. And without an effective drug approval,

mifepristone’s sponsors (Danco Laboratories and GenBioPro) could not

lawfully introduce that drug into interstate commerce. Add.66; see 21

U.S.C. § 355(a) (“No person shall introduce or deliver for introduction

into interstate commerce any new drug, unless an approval of an

application filed pursuant to subsection (b) or (j) is effective with respect

to such drug.”). For purposes of the FDCA, the “practical effect” of the

court’s order is thus indistinguishable from a preliminary injunction

compelling FDA itself to suspend its prior actions.

     Moreover, the district court’s decision to stay FDA’s actions rested

on the same factors that govern a preliminary injunction. The court

recognized that “[m]otions to stay agency action pursuant to [§ 705] are

reviewed under the same standards used to evaluate requests for

interim injunctive relief.” Add.66 (quoting Texas v. Biden, 2022 WL

17718634, *10 (N.D. Tex. 2022)); see Monumental Task Comm., Inc. v.


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Foxx, 157 F. Supp. 3d 573, 586 (E.D. La. 2016) (noting that the

standard for a § 705 stay “is the same as the standard for issuance of a

preliminary injunction”), aff’d sub nom. Monumental Task Comm., Inc.

v. Chao, 678 F. App’x 250 (5th Cir. 2017); Cronin v. USDA, 919 F.2d

439, 446 (7th Cir. 1990). Consequently, the court reasoned that

“[b]ecause the Court finds injunctive relief is generally appropriate,”

§ 705 also authorized a stay. Add.66.

     Plaintiffs do not cite any precedent holding that a § 705 stay is not

appealable under § 1292(a)(1). Instead, they invoke Nken v. Holder,

556 U.S. at 418, for the proposition that stays and injunctions are

distinct. But Nken did not address the scope of § 1292(a)(1); nor did it

involve a § 705 stay. It addressed whether a stay of a removal order

pending judicial review is an injunction against “the removal of any

alien” within the meaning of a provision, 8 U.S.C. § 1252(f)(2), that

limits such injunctions. That holding turned on the text, structure, and

context of the statute at issue, see 556 U.S. at 428-33, none of which

matters here. And even under Nken’s framework, the district court’s

order is an injunction because it does not merely “suspend[] ... the order

or judgment in question”; rather, it radically upends the status quo that


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predated the court’s order, under which FDA approval of mifepristone

permitted the drug’s sponsors to introduce it into interstate

commerce. Id. at 428-29.

     Plaintiffs’ reliance on Alsea Valley Alliance v. Department of

Commerce, 358 F.3d 1181 (9th Cir. 2004), is also misplaced. The court

there was addressing not a stay pursuant to 5 U.S.C. § 705, but rather a

district court order that vacated a National Marine Fisheries Service

rule and remanded the matter to the agency. And the reason the court

did not regard that stay as an injunction was that it left the agency free,

on remand, to take the same action as it had previously taken. See 358

F.3d at 1186 (“The order does not compel the Service to remove Oregon

coast coho salmon from the threatened species list or take any other

actions.”). Here, by contrast, the district court did not remand for FDA

to reconsider whether to approve mifepristone; it simply stayed FDA’s

approval. And even if the order here could somehow be read as akin to

the one in Alsea, the implication would not be that this Court lacks

jurisdiction to review the order; it would be that this Court’s jurisdiction

would lie under § 1291 rather than § 1292(a)(1). See Alsea, 358 F.3d at




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1184 (agencies can immediately appeal remand orders under the

collateral-order doctrine).

     3. In any event, the government would be entitled to mandamus

relief. Even if this Court “lacks jurisdiction under § 1291 to review the

district court’s order, a writ of mandamus may still be appropriate.”

Leonard v. Martin, 38 F.4th 481, 488 (5th Cir. 2022). In such

circumstances, this Court may “treat an appeal as a petition for a writ

of mandamus.” Id. at 488 n.4. This Court “will grant a petition for a

writ of mandamus” if the petitioner shows “that there are ‘no other

adequate means to attain the relief he desires,’” that “the writ is

appropriate under the circumstances,” and that the petitioner has “a

‘clear and indisputable right to the writ.’” Defense Distributed v. Bruck,

30 F.4th 414, 426 (5th Cir. 2022) (quoting Cheney v. U.S. Dist. Court,

542 U.S. 367, 380-81 (2004)).

     A writ of mandamus would be warranted if this Court holds that it

lacks jurisdiction over this appeal under § 1292. All three factors are

satisfied here: If this Court could not exercise immediate appellate

review under § 1292(a)(1), mandamus relief would be the only

“adequate means” to obtain relief. Defense Distributed, 30 F.4th at 426.


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Allowing the district court’s order to take effect nationwide, and

effectively vacate FDA’s approval of mifepristone, while this case

proceeds on the merits would work immense irreparable harm on

women, healthcare systems, and the public. See Stay Mot. 25-26; Stay

Mot. Reply 6-14. For the same reasons, mandamus relief would be

“appropriate under the circumstances.” Defense Distributed, 30 F.4th at

426.

       Finally, the government has a “clear and indisputable right” to the

writ, Defense Distributed, 30 F.4th at 426, for the same reasons that

this Court should stay the district court’s order. See Stay Mot. 6-28;

Stay Mot. Reply 4-14. As detailed in the government’s stay briefing,

plaintiffs’ speculative assertions of harm fail to establish standing; their

central claims are manifestly untimely; and all of their claims fail on

the merits. The equities also decisively favor mandamus relief.

Plaintiffs will suffer no harm from maintaining the status quo pending

appeal, as is evident by their years-long delay in seeking judicial review

of FDA’s approval of mifepristone. In contrast, the public interest

plainly favors maintaining access to a safe and effective drug that has




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been on the market for over two decades, consistent with Congress’s

determination to entrust to FDA responsibility to ensure drug safety.

                            CONCLUSION

     For the foregoing reasons, plaintiffs’ motion to dismiss should be

denied.



                                       Respectfully submitted,

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APRIL 2023




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                       CERTIFICATE OF SERVICE

     I hereby certify that, on April 12, 2023, I electronically filed the

foregoing with the Clerk of the Court by using the appellate CM/ECF

system. I further certify that the participants in the case are CM/ECF

users and that service will be accomplished by using the appellate

CM/ECF system.

                                          /s/ Cynthia A. Barmore
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                 CERTIFICATE OF COMPLIANCE

     I hereby certify that this response complies with the requirements

of Federal Rule of Appellate Procedure 27(d) because it has been

prepared in 14-point Century Schoolbook, a proportionally spaced font.

I further certify that this response complies with the type-volume

limitation of Federal Rule of Appellate Procedure 27(d)(2) because it

contains 1,815 words according to the count of Microsoft Word.

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